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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF VIRGINIA
                                CHARLOTTESVILLE DIVISION


                                                         CASE NO. 3:23-cr-00011
   UNITED STATES OF AMERICA,

                           v.                            CRIMINAL PRETRIAL ORDER
   SCOTT HOWARD JENKINS, et al.,
                                                         JUDGE NORMAN K. MOON
                                    Defendants.



        This criminal case is set for a jury trial on September 7, 2023 in Charlottsville, Virginia.

The Government and Defendants are ORDERED to file the following pre-trial submissions on

or before these deadlines*:

        1.      Any case-specific questions for a jury questionnaire shall be filed no later than

 fourteen (14) days before trial.

        2.      Any motion(s) in limine or other pretrial motions shall be filed no later than

 fourteen (14) days before trial, pursuant to Rule 12(c) of the Federal Rules of Criminal

 Procedure. A motion must state the grounds on which it is based and the relief or order sought.

 Motions raising questions of law must be supported by legal memoranda filed

 contemporaneously therewith.

        3.      Any party opposing a motion in limine or other pretrial motion shall file a written

 response and legal memorandum within seven (7) days of the filing of the motion (or within


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           If the trial is continued to a later date, these submission deadlines will apply as to the
 new trial date.

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 seven (7) days of this order if a motion and supporting brief were served before this order).

         4.      The parties shall file proposed jury instructions and any proposed verdict form no

 later than seven (7) days before trial. A party’s failure to timely file proposed jury instructions

 may constitute waiver. If a party has a specific objection to a proposed instruction from the

 opposing party, counsel shall notify opposing counsel and the Court no later than three (3)

 business days before trial.

         5.      Any proposed questions for voir dire shall be filed no later than seven (7) days

 before trial.

         6.      Any witness and exhibit lists shall be filed no later than three (3) business days

 before trial.

         7.      On or about fourteen (14) days before trial, the parties shall contact Carmen

 Amos, Scheduling Clerk, at (434) 847-5722, to arrange a final pretrial conference before trial.

 Should the parties wish to schedule another hearing in this matter, they shall confer as to each

 party’s availability and contact Carmen Amos to schedule a hearing.

         It is so ORDERED.

         The Clerk of Court is hereby directed to send this Order to all counsel of record.

         Entered this 11th day of July, 2023.




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